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                          6IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF UTAH

 UNITED STATES OF AMERICA,                            MEMORANDUM DECISION AND
                                                      ORDER DENYING DEFENDANT’S
                         Plaintiff,                   MOTION FOR COMPASSIONATE
                                                      RELEASE
 v.

 JACQUELINE COLLINS,
                                                      Case No. 2:17-CR-456 TS
                         Defendant.
                                                      District Judge Ted Stewart


       This matter is before the Court on Defendant’s Motion for Compassionate Release.

Defendant seeks to modify her sentence to time served and be sentenced to supervised release.

       “A district court is authorized to modify a Defendant’s sentence only in specified

instances where Congress has expressly granted the court jurisdiction to do so.” 1 18 U.S.C. §

3582(c)(1)(A) allows the Court to modify a term of imprisonment under certain circumstances.

Relevant here,

       the court . . . upon motion of the defendant after the defendant has fully exhausted
       all administrative rights to appeal a failure of the Bureau of Prisons to bring a
       motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a
       request by the warden of the defendant’s facility, whichever is earlier, may reduce
       the term of imprisonment (and may impose a term of probation or supervised
       release with or without conditions that does not exceed the unserved portion of the
       original term of imprisonment), after considering the factors set forth in section
       3553(a) to the extent that they are applicable, if it finds that . . . extraordinary and
       compelling reasons warrant such a reduction.

       In this case, Defendant is not in custody and, therefore, cannot attempt to exhaust her

administrative rights or petition the warden. At least one court has found that the exhaustion


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           United States v. Blackwell, 81 F.3d 945, 947 (10th Cir. 1996) (citations omitted).


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requirement was met under similar circumstances. 2 The Court need not decide whether it has the

authority to grant Defendant’s request because Defendant has failed to demonstrate extraordinary

and compelling reasons to support her request.

        The Sentencing Commission has been given the responsibility to describe “what should

be considered extraordinary and compelling reasons for sentence reduction, including the criteria

to be applied and a list of specific examples.” 3 Relevant here, the Sentencing Commission has

stated that family circumstances, such as “[t]he death or incapacitation of the caregiver of the

defendant’s minor child or minor children,” may constitute an extraordinary and compelling

reason for release. 4

        Here, Defendant and her co-Defendant—Landry Renzaho—are the primary caregivers of

Defendant’s children, some of whom suffer from serious medical issues. Defendant and Mr.

Renzaho were given staggered sentences so that one of them would be able to care for the

children while the other was in custody. Defendant claims that, due to COVID-19, she is

essentially the only caretaker for her children. In support, Defendant argues that Mr. Renzaho

has tuberculosis and, “[a]s a result, he is extremely susceptible to not only contracting Covid-19,

but to succumb to Covid-19 if he were to contract it.” 5 Defendant further argues that Mr.

Renzaho is unemployed and cannot be employed due to his medical condition. In sum,



        2
          United States v. Lopez, Case No. 18-CR-2846 MV, 2020 WL 2489746, at *2 (D. N.M.
May 14 2020) (concluding “that because Mr. Lopez has no way to apply to compassionate
release through the BOP, he has satisfied § 3582(c)(1)(A)’s exhaustion requirement and is
eligible to apply for relief in this Court”).
        3
            28 U.S.C. § 944(t).
        4
            U.S.S.G. § 1B1.13, Application Note 1(C)(i).
        5
            Docket No. 270, at 10.


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Defendant argues that “it is impossible for Mr. Renzaho to alone care for the children and their

unique health impediments while also keeping himself safe.” 6

       Defendant provides no evidence to support her statements regarding Mr. Renzaho’s

medical condition or his alleged increased susceptibility to contract COVID-19 or suffer a severe

outcome should he contract it. The Presentence Report prepared for Mr. Renzaho indicated that

he was in good physical health and made no mention of a diagnosis of tuberculosis. Further, the

Centers for Disease Control and Prevention does not list tuberculosis as creating a higher risk for

severe illness from COVID-19. Similarly, the evidence before the Court suggests that Mr.

Renzaho is capable of supporting and caring for Defendant’s children. 7 While the current

pandemic will surely add challenges to what is admittedly a difficult situation, those challenges

are not unique to Defendant or Mr. Renzaho.

       It is therefore

       OREDERED that Defendant’s Motion for Compassionate Release (Docket No. 70) is

DENIED WITHOUT PREJUDICE.

       DATED this 6th day of November, 2020.

                                              BY THE COURT:



                                              Ted Stewart
                                              United States District Judge




       6
           Id.
       7
         See Docket No. 226, at 4–5 (stating that Mr. Renzaho was working and providing for
the children).


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